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  EXHIBIT 83
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                                                                        Page 1

1                          UNITED STATES DISTRICT COURT
2                         CENTRAL DISTRICT OF CALIFORNIA
3
4           MARVEL CHARACTERS, INC.            )
                                               )
5                   Plaintiff,                 )
                                               )
6                   v.                         ) Case No.
                                               ) 2:21-cv-07624-
7           MICHELE HART-RICO and              ) DMG-KES
            BUZ DONATO F. RICO III,            )
8                                              )
                    Defendants.                )
9           ___________________________________)
                                               )
10          MICHELE HART-RICO and              )
            BUZ DONATO F. RICO III,            )
11                                             )
                    Counterclaimants,          )
12                                             )
                    v.                         )
13          MARVEL CHARACTERS, INC.            )
            and DOES 1-10, inclusive,          )
14                                             )
                    Counterclaim-Defendants.   )
15          ___________________________________)
16
17                  VIDEOTAPED DEPOSITION OF MICHELE HART-RICO
18                            Los Angeles, California
19                          Thursday, February 2, 2023
20
21          Reported by:
            Damon M. LeBlanc
22          CSR No. 11958
            Job No. 5695642
23
24
25

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                                                                        Page 2

1                        UNITED STATES DISTRICT COURT
2                       CENTRAL DISTRICT OF CALIFORNIA
3
4           MARVEL CHARACTERS, INC.            )
                                               )
5                   Plaintiff,                 )
                                               )
6                   v.                         ) Case No.
                                               ) 2:21-cv-07624-
7           MICHELE HART-RICO and              ) DMG-KES
            BUZ DONATO F. RICO III,            )
8                                              )
                    Defendants.                )
9           ___________________________________)
                                               )
10          MICHELE HART-RICO and              )
            BUZ DONATO F. RICO III,            )
11                                             )
                    Counterclaimants,          )
12                                             )
                    v.                         )
13          MARVEL CHARACTERS, INC.            )
            and DOES 1-10, inclusive,          )
14                                             )
                    Counterclaim-Defendants.   )
15          ___________________________________)
16
17                  Videotaped deposition of MICHELE HART-RICO,
18          taken on behalf of the plaintiff, at 1999 Avenue of
19          the Stars, 8th Floor, Los Angeles, California,
20          beginning at 9:46 a.m. and ending at 5:10 p.m.,
21          Thursday, February 2, 2023, before
22          Damon M. LeBlanc, Certified Shorthand Reporter,
23          Number 11958.
24
25

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                                                                         Page 3

1           APPEARANCES:
2           For the Plaintiff and Counterclaim-Defendant,
            MARVEL CHARACTERS, INC.
3
                     O'MELVENY & MYERS LLP
4                    BY: MOLLY M. LENS, ESQ., and
                     BRITTANY B. FOWLER, ESQ.
5                    1999 Avenue of the Stars
                     8th Floor
6                    Los Angeles, California 90067
                     Telephone: (310) 553-6700
7                    Facsimile: (310) 246-6779
                     E-mail: mlens@omm.com
8
9           For the Defendant and Counterclaimants,
            MICHELE HART-RICO and BUZ DONATO F. RICO, III:
10
                     TOBEROFF & ASSOCIATES PC
11                   BY: MARC TOBEROFF, ESQ.
                     23823 Malibu Road
12                   Suite 50-36
                     Malibu, California 90265
13                   Telephone: (310) 246-3333
                     Facsimile: (310) 246-3101
14                   E-mail: mtoberoff@toberoffassociates.com
15
            Also Present:
16
                     Kevin Del Cid, Videographer
17                   Veritext Legal Solutions
                     (866) 299-5127
18
19          VIDEO-CONFERENCE APPEARANCES:
20          For the Defendant and Counterclaimants,
            MICHELE HART-RICO and BUZ DONATO F. RICO, III:
21
                     TOBEROFF & ASSOCIATES PC
22                   BY: JAYMIE R. PARKKINEN, ESQ.
                     23823 Malibu Road
23                   Suite 50-36
                     Malibu, California 90265
24                   Telephone: (310) 246-3333
                     Facsimile: (310) 246-3101
25                   E-mail: mtoberoff@toberoffassociates.com

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                                                                        Page 4

1           VIDEO-CONFERENCE APPEARANCES (CONTINUED):
2           Also Present:
3                    ELI BARD
                     Deputy Chief Counsel, Marvel Entertainment
4                    1290 Sixth Avenue
                     New York, New York            10104
5                    (212) 576-8501
6
7
8
9
10
11
12
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1                                       I N D E X
2           THE WITNESS:
3           MICHELE HART-RICO
4           Examination by:                                               Page
5           MS. LENS:                                                  10, 231
6           MR. TOBEROFF:                                                  219
7
8                                  E X H I B I T S
                                                                           Page
 9          Exhibit            Description                                Marked
10          Exhibit 84         Entertainment Industry
                               Book, How to Register Your
11                             Copyright & Introduction
                               to New & Historical Copyright
12                             Law by Walter E. Hurst,
                               Illustrated by Don Rico
13                             Bates-stamped
                               2021 MARVEL-0076414 to
14                             76720                                         43
15          Exhibit 85         Inside The News, July 11
                               Creator of Heroes
16                             Bates-stamped RICO-0010
                               to 0014                                       75
17
            Exhibit 86         Flash drive containing
18                             video                                         97
19          Exhibit 87         Don Rico remembered by
                               Scott Shaw at CAPS
20                             transcript of video                           97
21          Exhibit 88         Defendant Michele Hart-Rico's
                               Second Amended Responses and
22                             Objections to Plaintiff's
                               First Interrogatories to
23                             Michele Hart-Rico                             111
24
25                                   Continued...

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1                              I N D E X (CONTINUED)
2
3                                  E X H I B I T S
                                                                           Page
4           Exhibit            Description                                Marked
5           Exhibit 89         Tales of Suspense
                               Bates-stamped
6                              2021MARVEL-0005039
                               to 5052                                       120
7
            Exhibit 90         Tales of Suspense
8                              Bates-stamped
                               2021MARVEL-0005053
 9                             to 5066                                       121
10          Exhibit 91         Don Rico Biographical
                               Material, Bates-stamped
11                             RICO-0052 to 0057                             136
12          Exhibit 92         Michele Hart-Rico Interview
                               Conducted by Dewey Cassell
13                             Date 06/24/12, 16 pages
                               Bates-stamped RICO-0211                       154
14
            Exhibit 93         Marvel Comics Group
15                             Stan Lee to Donato, dated
                               10/27/72, Bates-stamped
16                             RICO-0007                                     156
17          Exhibit 94         Letter to Stan Lee from
                               Daring Don, Bates-stamped
18                             RICO-0008                                     158
19          Exhibit 95         Agreement of Sale,
                               Bates-stamped RICO-0037,
20                             0018 to 0024, 0038 to 0047,
                               0029 to 0036                                  162
21
            Exhibit 96         Defendant Michele Hart-Rico's
22                             Supplemental Responses and
                               Objections to Plaintiff's
23                             Third Set of Interrogatories
                               to Michele Hart-Rico                          177
24
25                                   Continued...

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                                                                        Page 72

1           and overbroad.        Ambiguous.
2                     THE WITNESS:        Not specifically.
3           BY MS. LENS:
4                     Q          It's true, is it not, Ms. Hart-Rico,
5           that your husband was quite appreciative of the
6           life that he had been able to make working on
7           comics for Marvel?
8                     MR. TOBEROFF:         Objection as to form.             Lacks
9           foundation.
10                    THE WITNESS:        That he was appreciative of
11          the life?
12          BY MS. LENS:
13                    Q          That he had been able to build based
14          on the money that he was paid working on Marvel
15          comics?
16                    A          Not during the time that I knew him.
17                    Q          But you were aware that, prior to
18          the time that you knew your husband, he had -- he
19          felt that he had earned a good quality of life
20          working for Marvel; did he not?
21                    MR. TOBEROFF:         Objection as to form.             Lacks
22          foundation.        Calls for speculation.
23                    THE WITNESS:        I believe so.
24          BY MS. LENS:
25                    Q          His work -- as he said in published

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                                                                       Page 73

1           interviews, his work for Marvel enabled him to have
2           not only an apartment in the city but also a house
3           outside city; right?
4                    MR. TOBEROFF:         Excuse me.        Objection as to
5           form.   Compound.
6                    THE WITNESS:        Yes.      He, as far as I know,
7           did very well when he was in New York.
8           BY MS. LENS:
9                    Q         And you're aware that when he was in
10          New York, prior to moving to L.A., he was doing
11          majority of his work with Marvel; right?
12                   MR. TOBEROFF:           Objection as to form.
13                   THE WITNESS:        I don't know that.            I don't
14          know that for a fact.
15                   MR. TOBEROFF:         Objection as to form.
16          BY MS. LENS:
17                   Q         You're aware he was an editor with
18          Marvel, are you not?
19                   A         I'm aware of that.
20                   Q         And you understand that he worked
21          with Stan Lee as an editor at Marvel?
22                   MR. TOBEROFF:         Are you talking
23          about -- just to be clear, are you talking about
24          the 1950s?
25                   MS. LENS:       Talking about the time when he

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                                                                     Page 207

1                     Q         Not to Black Widow?
2                     A         No, no.        To Olga.
3                     Q         And so my question is different,
4           which is that do you have any facts to -- other
5           than the fact that they are both Russian, do you
6           have any facts to support the assertion that the
7           character Black Widow was inspired by Don Rico's
8           first wife?
9                     MR. TOBEROFF:         Asked and answered.             She
10          just gave you some facts.
11                    THE WITNESS:         Just what I've already told
12          you.
13                    MS. LENS:        Okay.
14          BY MS. LENS:
15                    Q         Are you familiar with the entity
16          Magazine Management?
17                    A         I've heard the name.
18                    Q         What does it mean to you?
19                    A         It either is or was a part of
20          Marvel.       I'm fairly fuzzy on how that connected.
21                    Q         Is that understanding from your
22          husband, Don Rico?
23                    A         Yes.
24                    Q         Did Don Rico have a studio in the
25          1960s when you lived in New York?

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                                                                     Page 208

1                      A       No.     We had an enormous apartment.
2                      Q       I would like to turn your attention
3           to -- I just lost it.          Give me a moment.
4                      Request Number 10, which is on page 19 and
5           20.     Actually, I'm sorry.          We can stay on 15.          It
6           will make it easier.
7                      In response to Request for Admission
8           Number 2, we were on page 15.
9                      A       Okay.
10                     Q       You can see on line 20 it states:
11                     "During this same time, communications
12          between Rico and Stan Lee show that Rico was
13          working on several projects on spec, which he
14          pitched and/or intended to pitch to Marvel."
15                     Do you see that?
16                     A       I see it.
17                     Q       And do you have an understanding of
18          what communications are being referenced there?
19                     A       Probably phone or possibly lunch
20          meetings.
21                     Q       Do you have any records of phones or
22          lunch meetings?
23                     A       No.
24                     Q       And are you speculating, or you have
25          knowledge that that is -- there were

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      Case 1:21-cv-07957-LAK   Document 94-3     Filed 06/30/23   Page 12 of 12



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1                        Certification of Court Reporter
2                                    Federal Jurat
3
4                      I, the undersigned, a Certified Shorthand
5           Reporter of the State of California do hereby
6           certify:
7                      That the foregoing proceedings were taken
8           before me at the time and place herein set forth;
9           that any witnesses in the foregoing proceedings,
10          prior to testifying, were placed under oath; that a
11          verbatim record of the proceedings was made by me
12          using machine shorthand which was thereafter
13          transcribed under my direction; further, that the
14          foregoing is an accurate transcription thereof.
15                     That before completion of the deposition, a
16          review of the transcript [X] was [ ] was not
17          requested.
18                     I further certify that I am neither
19          financially interested in the action nor a relative
20          or employee of any attorney of any of the parties.
21                     IN WITNESS WHEREOF, I have this date
22          subscribed my name.
23          Dated: February 16, 2023
24                                                     <%15021,Signature%>
                                                       Damon M. LeBlanc
25                                                     CSR No. 11958

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